Case 3:04-cr-30139-SMY            Document 596 Filed 11/28/06              Page 1 of 2      Page ID
                                           #1259

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                              )
                                                       )
                  Plaintiff,                           )
                                                       )
       v.                                              )       CRIMINAL NO. 04-30139-WDS
                                                       )
JOSIAH COMPTON,                                        )
                                                       )
               Defendant.                              )


                                             ORDER

STIEHL, District Judge:

       Before the Court is defendant’s motion to unseal the Title III wiretap application and

affidavits (Doc. 594). The government has filed a response (Doc. 595), indicating that it has no

objection to the Court lifting the seal subject to the protective order previously entered by the

Court (Doc. 170).

       Upon review of the record, the Court GRANTS defendant’s motion to unseal Title III

wiretap application and affidavits.

       In accordance with the Court’s order of protection, defense counsel must maintain in his

custody, care and control, at all times, the discovery provided by the government, including the

Title III wiretap documents. Counsel may show this material only to his client, and not to any

other defendant These materials may not be copied or disseminated to any defendant in any

form. In addition, these materials may not be left at any time in any jail, office, or other location

which may allow them to be copied, redistributed or disseminated in any manner.

       IT IS FURTHER ORDERED that any paper, motion or document filed with the Court

involving, discussing, attaching, including or referring to the contents of any of the materials


                                                  1
Case 3:04-cr-30139-SMY           Document 596 Filed 11/28/06             Page 2 of 2        Page ID
                                          #1260

subject to this Order shall be filed under seal and shall not be served on any defendant.

       IT IS SO ORDERED.

       DATED: November 28, 2006.


                                                     s/ WILLIAM D. STIEHL
                                                         DISTRICT JUDGE




                                                 2
